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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11    HIRAM E. SUMMERS,                   ) Case No. 2:21-cv-08380-DOC-JC
                                          )
12                         Petitioner,    )
                                          )
13                  v.                    )
                                          ) JUDGMENT
14    RAY MADDEN, Warden,                 )
                                          )
15                                        )
                          Respondent.     )
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18         Pursuant to this Court’s Order Dismissing Petition for Writ of Habeas
19 Corpus and Action without Prejudice, IT IS ADJUDGED that the Petition for Writ
20 of Habeas Corpus filed in this action and this action are dismissed without
21 prejudice.
22
23 DATED: November 3, 2021
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25                                  ______________________________________
26                                  HONORABLE DAVID O. CARTER
                                    UNITED STATES DISTRICT JUDGE
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